General Docket
United States Court of Appeals for the Sixth Circuit

Court of Appeals Docket #: 23-5611 Docketed: 06/30/2023
Nature of Suit: 3440 Civil Rights: Other

Friends Of Georges, Inc. v. Steven Mulroy

Appeal From: Western District of Tennessee at Memphis

Fee Status: fee paid

Case Type Information:
1) Civil
2) Private
3) Civil Rights

Originating Court Information:
District: 0651-2 : 2:23-cv-02163
Court Reporter: Candace Covey
Court Reporter: Catherine J. Phillips
Trial Judge: Thomas L. Parker, U.S. District Judge
Date Filed: 03/30/2023

Date Order/Judgment: Date NOA Filed:

06/07/2023 06/30/2023
Prior Cases:

None

Current Cases:

None
FRIENDS OF GEORGES, INC. Brice Moffatt Timmons
Plaintiff - Appellee Direct: 901-278-1004
[COR LD NTC Retained]
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STEVEN JOHN MULROY, in his official and individual capacity as James Matthew Rice

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Case 3:23-cv-00316-JRG-JEM Document 1-5 Filed 08/30/23 Page 1of7 PagelD #: 116

AMERICA FIRST LEGAL FOUNDATION
Amicus Curiae

STATE OF SOUTH CAROLINA
Amicus Curiae

STATE OF ALABAMA
Amicus Curiae

STATE OF ALASKA
Amicus Curiae

STATE OF FLORIDA
Amicus Curiae

STATE OF GEORGIA
Amicus Curiae

STATE OF IDAHO
Amicus Curiae

STATE OF INDIANA
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STATE OF IOWA
Amicus Curiae

Case 3:23-cv-00316-JRG-JEM

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STATE OF LOUISIANA
Amicus Curiae

STATE OF MISSISSIPPI
Amicus Curiae

STATE OF MONTANA
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STATE OF NEBRASKA
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STATE OF NORTH DAKOTA
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STATE OF TEXAS
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STATE OF UTAH
Amicus Curiae

STATE OF VIRGINIA
Amicus Curiae

STATE OF WEST VIRGINIA
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STATE OF MISSOURI
Amicus Curiae

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FRIENDS OF GEORGES, INC.
Plaintiff - Appellee
Vv.
STEVEN JOHN MULROY, in his official and individual capacity as the District Attorney General of Shelby County, Tennessee

Defendant - Appellant

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Civil Case Docketed. Notice filed by Appellant Mr. Steven John Mulroy. Transcript needed: y. (RGF)
[Entered: 06/30/2023 03:13 PM]

The case manager for this case is: Mr. Roy G. Ford (513) 564-7016 (RGF) [Entered: 06/30/2023 03:15 PM]
MEDIATION OFFICE is involved in this appeal.

VIDEO CONFERENCE: A Mediation conference has been scheduled for 07/28/2023 at 9:30 AM (ET) with
Scott Coburn. [Please open notice for important details and deadlines.] (LMR) [Entered: 07/03/2023 01:38
PM]

APPEARANCE filed for Appellee Friends Of Georges, Inc. by Brice M. Timmons. Certificate of Service:
07/07/2023. [23-5611] (BMT) [Entered: 07/07/2023 12:44 PM]

APPEARANCE filed for Appellee Friends Of Georges, Inc. by Craig A. Edgington. Certificate of Service:
07/07/2023. [23-5611] (CAE) [Entered: 07/07/2023 12:52 PM]

APPEARANCE filed for Appellee Friends Of Georges, Inc. by Melissa J. Stewart. Certificate of Service:
07/07/2023. [23-5611] (MJS) [Entered: 07/07/2023 12:54 PM]

DEFICIENCY NOTICE: The appearance form , [6],, appearance form , [5],, appearance form , [4], filed by
Mr. Craig A. Edgington for Friends Of Georges, Inc., Ms. Melissa Jo Stewart for Friends Of Georges, Inc.
and Mr. Brice Moffatt Timmons for Friends Of Georges, Inc. is deficient for the reason noted on the
attached checklist. Deficiency to be corrected by 07/14/2023. (RGF) [Entered: 07/07/2023 02:32 PM]

APPEARANCE filed for Appellee Friends Of Georges, Inc. by Brice M. Timmons. Certificate of Service:
07/07/2023. [23-5611] (BMT) [Entered: 07/07/2023 03:25 PM]

APPEARANCE filed for Appellee Friends Of Georges, Inc. by Craig A. Edgington. Certificate of Service:
07/07/2023. [23-5611] (CAE) [Entered: 07/07/2023 03:27 PM]

APPEARANCE filed for Appellee Friends Of Georges, Inc. by Melissa J. Stewart. Certificate of Service:
07/07/2023. [23-5611] (MJS) [Entered: 07/07/2023 03:28 PM]

CORPORATE DISCLOSURE STATEMENT filed by Attorney Mr. Brice Moffatt Timmons for Appellee
Friends Of Georges, Inc. Certificate of Service: 07/07/2023. [23-5611] (BMT) [Entered: 07/07/2023 03:31
PM]

Letter sent by Mediation Office REGARDING MEDIATION: The Mediation Conference scheduled for
07/28/2023 is hereby canceled. (LMR) [Entered: 07/12/2023 05:12 PM]

APPEARANCE filed for Appellant Mr. Steven John Mulroy by James Matthew Rice. Certificate of Service:
07/13/2023. [23-5611] (JMR) [Entered: 07/13/2023 11:41 AM]

CIVILAPPEAL STATEMENT OF PARTIES AND ISSUES filed by Attorney Mr. James Matthew Rice for
Appellant Mr. Steven John Mulroy.. Certificate of Service: 07/13/2023. [23-5611] (JMR) [Entered:
07/13/2023 11:48 AM]

CORPORATE DISCLOSURE STATEMENT filed by Attorney Mr. James Matthew Rice for Appellant Mr.
Steven John Mulroy Certificate of Service: 07/13/2023. [23-5611] (JMR) [Entered: 07/13/2023 11:51 AM]

TRANSCRIPT ORDER filed - transcript is already on file in the District Court Clerks Office. Filed by Mr.
James Matthew Rice for Mr. Steven John Mulroy. Certificate of Service: 07/13/2023. [23-5611] (JMR)
[Entered: 07/13/2023 12:21 PM]

BRIEFING LETTER SENT setting briefing schedule: appellant brief due 08/22/2023;. appellee brief due
09/21/2023; (RGF) [Entered: 07/13/2023 12:57 PM]

***DOCUMENT LOCKED - SEE DEFICIENCY NOTICE SENT 7/13/23 #19*** APPEARANCE filed for
Appellant Mr. Steven John Mulroy by James R. Newsom Ill. Certificate of Service: 07/13/2023. [23-5611]--
[Edited 07/14/2023 by RLB] (JRN) [Entered: 07/13/2023 02:34 PM]

DEFICIENCY NOTICE: The appearance form , [18], filed by Mr. James Robert Newsom, III for Mr. Steven
John Mulroy is deficient for the reason noted on the attached checklist. Deficiency to be corrected by
07/20/2023. (RGF) [Entered: 07/13/2023 03:39 PM]

APPEARANCE filed for Appellant Mr. Steven John Mulroy by James R. Newsom Ill. Certificate of Service:
07/13/2023. [23-5611] (JRN) [Entered: 07/13/2023 03:48 PM]

APPEARANCE filed for Appellant Mr. Steven John Mulroy by Robert Wilson. Certificate of Service:
07/13/2023. [23-5611] (RWW) [Entered: 07/13/2023 06:06 PM]

Mediation Office is no longer involved in this appeal. (MLB) [Entered: 07/14/2023 04:34 PM]

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2 pg, 712.76 KB

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88 pg, 2.17 MB

OC) 27

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O) 28

25 pg, 746.36 KB

OQ) 29

25 pg, 231.06 KB

AMICUS APPEARANCE filed for America First Legal Foundation by Jonathan F. Mitchell. Certificate of
Service: 08/16/2023. [23-5611] (JFM) [Entered: 08/16/2023 04:03 PM]

AMICUS APPEARANCE filed for America First Legal Foundation by Gene P. Hamilton. Certificate of
Service: 08/16/2023. [23-5611] (GH) [Entered: 08/16/2023 05:09 PM]

RECORD RECEIVED from Mr. James Matthew Rice for Mr. Steven John Mulroy.
Flash Drive, Comment: Exhibits 2(sketch videos), Sealed: None. (MH) [Entered: 08/22/2023 10:08 AM]

APPELLANT BRIEF filed by Mr. James Matthew Rice for Mr. Steven John Mulroy. Certificate of Service:
08/22/2023. Argument Request: requested. [23-5611] (JMR) [Entered: 08/22/2023 04:17 PM]

AMICUS APPEARANCE filed for States of South Carolina, Alabama, Alaska, Florida, Georgia, Idaho,
Indiana, lowa, Louisiana, Mississippi, Missouri, Montana, Nebraska, North Dakota, Texas, Utah, Virginia,
and West Virginia by Thomas T. Hydrick. Certificate of Service: 08/29/2023. [23-5611] (TTH) [Entered:
08/29/2023 02:30 PM]

AMICUS BRIEF filed by Thomas T. Hydrick for States of South Carolina, Alabama, Alaska, Florida,
Georgia, Idaho, Indiana, lowa, Louisiana, Mississippi, Missouri, Montana, Nebraska, North Dakota, Texas,
Utah, Virginia, and West Virginia, federal/state government. Certificate of Service:08/29/2023. [23-5611]
(TTH) [Entered: 08/29/2023 02:40 PM]

AMICUS BRIEF filed by America First Legal Foundation , with parties' consent. Certificate of
Service:08/29/2023. [23-5611] (JFM) [Entered: 08/29/2023 11:58 PM]

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